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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. lO-CV-80737-HURLEY/HOPKINS
        (Consolidated with Case No. lO-CV-80738-HURLEY/HOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,

   v.

   TRADE-LLC, et aI.,
   Defendants,

   v.

   BD LLC, et aI.,
   Relief Defendants.
   _______________________________1

   COMMODITY FUTURES TRADING
   COMMISSION,
   Plaintiff,

              v.

   TRADE-LLC, et aI.,
   Defendants,

   BD LLC, et aI.,
   Relief Defendants.
   -------------------------------1
                        UNOPPOSED SIXTH INTERIM APPLICATION FOR
                     ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
                       OF EXPENSES TO THE RECEIVER AND HIS COUNSEL

              Pursuant to Section 14 of this Court's June 23, 2010 Order Appointing Receiver [DE 12],

   Jeffrey C. Schneider, not individually, but solely in his capacity as the court-appointed receiver

   (the "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center

   Richmond LLC (the "Receivership Entities" or "Trade"), and his counsel (the law firm of Levine




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   Kellogg Lehman Schneider + Grossman LLP), 1 submit their Unopposed Sixth Interim

   Application for Allowance of Compensation and Reimbursement of Expenses for the time-

   period of September 1, 2011 through November 30, 20ll?                               The Securities and Exchange

   Commission (the "SEC") has reviewed this Fee Application and the attached billing records, and

   it has no objection to the amounts sought herein.

                                                      BACKGROUND
             During the period for the subject Fee Application (i.e., September to November 2011),

   the Receiver filed a motion for a first interim distribution for $5.5 million to claimants with

   "allowed claims" in the receivership. The distribution motion took several months to prepare,

   because the Receiver had to analyze the 1,020 submitted claim forms and ensure that each

   claimant's claim amount included the proper net amount.                           The Receiver memorialized his

   recommended treatment of claims in a voluminous claim matrix. A copy of the Claim Matrix is

   attached as Exhibit A to the Receiver's Fifth Report and distribution motion. The Claim Matrix

   was sent to all of the investors and creditors, along with a detailed letter explaining the process.

             As of October 2011, the Receiver finished the lengthy process of reviewing and

   analyzing the claim forms and their voluminous attachments. The Receiver and his staff have



   1 The Receiver's forensic accountants (MarcumRachlin) and his specially-employed real estate
   counsel (Hunton & Williams LLP) have filed, and in the future will be filing, separate fee
   applications. However, those professionals did not participate in the analysis of 1,020 submitted
   claims forms, which constitute the vast majority of the fees sought herein; rather, those services
   were performed in-house by the Receiver and his staff.

   2   The Order Appointing Receiver requires the Receiver to file reports and fee applications
   quarterly. The Receiver's First Fee Application was through August 31, 2010, which was the
   first quarter of the receivership; the Receiver's Second Fee Application was through November
   30, 2010, which was the second quarter; the Receiver's Third Fee Application was through
   February 28,2011, which was the third quarter of the receivership; the Receiver's Fourth Fee
   Application was through May 31,2011, which was the fourth quarter of the receivership; and the
   Receiver's Fifth Fee Application was through August 31, 2011, which was the fifth quarter of
   the receivership. This Fee Application is, therefore, through November 30,2011, which was the
   sixth quarter of the receivership.

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   performed that intensive task, in house, which is why this Fee Application (for September to

   November time) has some more time than prior ones.                            However, these functions, once

   performed, need not be repeated before subsequent distributions are made.                            In addition, the

   Receiver and his staff (comprised largely of reduced-rate paralegals, including one with a MBA)

   have performed these functions for considerably less than outside professionals would have

   charged. 3

           Since his last Report and Fee Application dated November 4, 2011, the Receiver, with

   the help of his professionals and staff, has completed the first distribution to all of the claimants

   with "allowed claims" and all of the claimants who cured any claim deficiencies.                                    The

   distribution was approximately 25% of investor losses. And the proposed cure period, which

   was self-executing, worked efficiently as planned and helped to cure the majority of the initially

   deficient claims, which then allowed the Receiver to issue distribution checks promptly without

   further Court Order or delay.

           For example, many claimants neglected to provide a copy of their driver's license or

   Passport when they submitted their claim form. After receiving the Claim Matrix, many then

   provided such a copy, and because they cured their claim deficiency, the Receiver accepted their

   claim and issued them a distribution check without further Court Order or delay. Similarly, the

   Receiver objected to claims in which his recommended claim amount differed from the

   claimant's. In response, many of these claimants confirmed in writing that they agreed with the

   Receiver's recommended claim amount or provided the necessary bank records to prove the

   investment, and he then issued them a distribution check.




   3 Before making this decision, the Receiver consulted with two different outside firms that
   perform claims work; their fees to perform this work would have far exceeded the amount for
   which the Receiver and his staff performed the work.

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           Moreover, as an example of one of the more complex claims, there was one claimant

   whose investment had allegedly been transferred through one intermediary before being

   transferred to one of Trade's investment clubs (a second intermediary), and then to Trade. That

   claimant had allegedly made a six-figure investment, so the claim was one of the larger in the

   estate. However, that claimant did not have the necessary records to prove that his investment

   was transferred to Trade, and the first intermediary was not cooperating with the Receiver (or the

   claimant) to provide the necessary bank records to track the investment. Therefore, the Receiver

   undertook the process of obtaining the first intermediary's bank records through subpoena and

   forensically analyzing them to track the alleged investment.                         Because of the Receiver's

   undertaking, the Receiver was able to confirm the legitimacy of the six-figure investment for the

   benefit of this claimant, after which the Receiver deemed the claim as "allowed" and issued him

   a distribution check.

           The cure period ended on December 5, 2011, and the majority of the claimants with

   initially deficient claims cured any claim deficiencies through that date.

           In addition to issuing distribution checks, the Receiver and his professionals have

   addressed accounting issues to ensure that the first distribution complies with IRS requirements.

   For example, many investors invested through an IRA or other qualified retirement account.

   This required the Receiver to timely issue a FormI099-R. These were complicated issues that

   caused a tremendous amount of confusion, particularly for those investors that intended to "roll-

   over" their distribution checks.

           In addition to dealing with the claims and distribution process, which has occupied the

   vast majority of the Receiver's time the last several months, the Receiver also, since the Fifth

   Report and Fee Application, closed the sale of insider Darren Jarema's condominium for

   $160,000.00, a receivership asset that the Receiver secured as part of his litigation against



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   Jarema. 4 The Receiver also continued to receive settlement checks on a monthly basis from prior

   Court-approved settlements.

             The Receiver continues to update investors, especially concernmg the claims and

   distribution process, on the receivership website by posting letters. The Receiver also posts the

   relevant filings from the enforcement and ancillary receivership lawsuits on the website.

             The Receiver is hopeful, if all goes as planned, to make a final distribution by the

   Summer or Fall of this year and then close the receivership.

                                                 WORK PERFORMED

             The Receiver's Sixth Report [DE 164], filed concurrently herein, chronicles in greater

   detail the Receiver's work during the application period. The Receiver will not burden this

   Court by repeating the contents of the Report here. The Receiver asks that this Application be

   considered after the Sixth Report has been reviewed. And the Receiver asks that this Court

   appreciate the magnitude of the tasks with which he and his professionals have been confronted.

   And most importantly, the Receiver has completed the first distribution of $5.5 million to

   defrauded victims with "allowed claims."

             A sampling of the work during the subject application period is detailed below.

        A. First Distribution

             The Receiver has completed issuing his first distribution to claimants with "allowed

   claims." Many claim forms had some type of deficiency, many of which were easily cured by

   the claimant (such as signing the claim form, providing proof of identity, agreeing to the

   Receiver's recommended claim amount or producing the requested records).                                       Once the

   deficiency was cured, the claimant automatically had an "allowed claim" under the protocol that




   4   This Court confirmed the sale of this property [DE 145 and 146]
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   the Receiver developed and this Court approved. s In short, and as the Receiver hoped for, there

   were very few "disputed claims" after the cure period expired.

            Each first distribution check was approximately 25% of the claimant's allowed claim

   amount. In other words, if the allowed claim was $10,000, then the first distribution check was

   approximately $2,500. The reason for this was that a large proportion of the funds deposited

   with Trade were used, diverted, or misappropriated in the Trade Ponzi scheme. The formula,

   which this Court approved, for calculating the first distribution check was as follows: the amount

   of the allowed claim divided by the total amount of filed claims as of the first distribution

   ($22,333,684.84), multiplied by the proposed distribution amount ($5,500,000.00).

             The Receiver will be making another - and, probably, final - distribution, but it is

   expected to be for a smaller percentage. The Receiver is hoping to make that distribution by the

   Summer or Fall of 2012, after he resolves pending litigation issues with the remaining

   receivership targets.

        B. Form l099-R

             The Receiver conferred on several occasions with his tax professionals to comply with

   IRS requirements for issuing the first distribution. If the claimant did not invest through a

   qualified retirement account, or an IRA, the claimant did not receive a Form 1099.                                   If the

   investment was through an IRA, however, the distribution had to be reported on a Form 1099-R,

   Distributions From Pensions, Annuities, Retirement or Profit-Sharing Plans, IRAs, Insurance

   Contracts, etc.

             The Receiver informed claimants that when a distribution is made directly to a

   beneficiary (or investor), the beneficiary likely has 60 days to roll-over the funds into another

   IRA account to avoid a tax and/or a penalty on an early distribution. Because the Receiver is not


   S Some investors did not include the bank records confirming their investment, but most of those
   deficiencies regarding the claim amount were cured by the Receiver, when he assembled the
   bank records to track each investor' s investment.
                                                                 6
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   an IRA custodian, he could not re-issue distribution checks to a claimant's account. Therefore,

   the Receiver informed claimants that if he or she wanted to fund his or her IRA account, then he

   or she should send the funds from the distribution check to the IRA account as soon as possible.

   The Receiver also informed claimants to discuss immediately their specific situation with their

   tax advisor regarding how this rukmay apply to them.

      C. Late Claims

           The Receiver received several late claims which he will be analyzing. The Receiver will

   then recommend to this Court what procedure should apply to the late claims.                               This Court

   previously granted the Receiver the discretion to determine late claims on a case-by-case basis.

   The Receiver is hopeful that there will not be any claims that are rejected because they were late.

      D. Disputed Claims

           In addition, there are several claimants who have disagreed with the Receiver's objection

   to their claim. The Receiver has termed these claims as "disputed claims.,,6 The Receiver and

   the claimant had ninety (90) calendar days from their response to the Receiver's objection to

   conduct any necessary discovery and/or file any dispositive motions in regards to the objections

   for the "disputed claim."

           Pursuant to the executed proof of claim forms, claimants submitted to the jurisdiction of

   this Court, and waived the right to a jury trial, for purposes of any objections; therefore, any

   necessary discovery and/or dispositive motions in regards to objections will be conducted and

   resolved by this Court in a summary proceeding.                     If the Receiver is unable to resolve his

   objection, the Receiver has had no choice but to file a motion for summary disposition for this

   Court to sustain his objection.           Those motions for summary disposition involved Jool Club

   claimants whose funds were not transferred to Trade [DE 151 and 153]. The Receiver provided



   6 "Disputed claims" include the claimants who responded to the Receiver's objection but
   disagreed with his recommended treatment.
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   notice of the motions to the affected disputed claimants and filed their responses for this Court's

   consideration. This Court recently granted the motions for summary disposition [DE 163].

           The Receiver has not needed to file additional motions for summary disposition regarding

   other disputed claimants because he was able to resolve his objections with them.

           Pursuant to this Court's Order approving the distribution and objections procedures [DE

   133], if a claimant did not timely respond to the Receiver's objection, the objection was deemed

   sustained and adjudicated with prejudice, and the claim was to be treated in accordance with the

   Receiver's objections. The Receiver will soon be filing a status report as to claimants who have

   cured (and who have been paid their distribution amount), claimants who have responded but

   have not adequately cured (i.e., "disputed claims"), claimants who had a "disputed claim" but

   with whom the Receiver has settled (and who have been paid their agreed-upon distribution

   amount), and claimants who have not responded in any manner (and whose claim will be treated

   in accordance with the Receiver's objections).7

       E. The Receiver Continues to Take the Necessary Actions with
          Respect to the Properties Purchased with Receivership Funds

                    1. Midtown Unit 2305

           The Receiver discovered that, soon before it shut down, Trade transferred $200,000.00 of

   investor funds to a Trade-insider and a close Milton-friend, Darren Jarema ("Jarema"), for him to

   purchase a condominium in the Residences at Midtown (the same development where Milton

   and Center, through CMJ Capital, had purchased two condominiums); Jarema's condominium

   was unit 2305. There was no mortgage on this property.




   7 "Disallowed claims" will likely include the claimants who did not timely respond to the
   Receiver's objection, and whose claims should be disallowed in accordance with his
   recommended treatment in the objection
                                                              8
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           The Receiver sued Jarema for, among other things, a constructive trust and/or equitable

   lien on this property. The Receiver moved for summary judgment to take title to this property,

   after which Jarema agreed to deed the property to the Receiver in full settlement of his claims.

           The Receiver signed a contract to sell this property for $160,000.00. The Receiver then

   moved for confirmation of this sale, which this Court granted.                          The closing occurred on

   December 1,2011.

                    2. 8143 Greystone East Circle

           During the period, the Receiver moved to compel Defendant William Center ("Center")

   to provide dates on which the Receiver's appraiser can inspect and appraise his home. Center

   used at least $210,000 of investor funds to completely renovate his home in Richmond, Virginia.

   As a result, the Receiver had filed and recorded a lis pendens in Virginia on Center's home so

   that it could not be sold or further encumbered.

           The Receiver retained an appraiser to inspect and perform an appraisal of the home to

   determine if there is any equity in the home. There is a mortgage on the property, as well as a

   tax lien.    Since filing the motion to compel, Center, through counsel, has contacted the

   Receiver's counsel and has made himself available for the inspection and appraisal.                                 The

   Receiver is awaiting the appraisal report. Assuming there is sufficient equity in the home, the

   Receiver hopes to settle his claim as to Center's home improvements in the near future.

           In addition to using investor funds to renovate his home, Center used at least $92,000 in

   investor funds to re-furnish his newly-renovated home. The Receiver has obtained a list of items

   that Center purchased from the interior design company to determine what furniture and

   furnishings should be turned over and liquidated. The Receiver intends to obtain as many of

   these items as possible        ~d,   assuming they still have value, sell them for the benefit of the

   receivership estate.



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        F. The Receiver Sells Personalty

              There is at least one remaining piece of artwork, jewelry, and a generator system from the

    19 Blenheim property. Assuming they still have value, they will be sold or auctioned in the near

    future.    The Receiver recently moved for authority to liquidate jewelry secured from insider

    Charles Reeves, which this Court granted [DE 156 and 158].

              Regarding the remaining furniture, fixtures and equipment which was previously located

    in Trade's office in Richmond, Virginia (which Center ran), Center allegedly sold nearly all the

    furniture, fixtures and equipment pre-receivership. The Receiver is still investigating this issue.

        G. The Receiver Continues to Protect Funds Secured
           from Frozen Balances at Bank and Brokerage Accounts

              The SEC served its freeze Order on a multitude of banks and brokerage firms where the

    Defendants and the Relief Defendants had accounts. Like the $6.4 million that the Receiver

    initially secured, these funds have been deposited into the Receiver's protected receivership

    accounts.

        H. The Receiver Continues to Take the Necessary Actions with Respect
           to Personal Items Purchased with Investor-Derived Funds

              Milton and the Centers (William and Gregory) signed a Stipulation with the Receiver in

    which they agreed to list - in a formal sworn accounting - all of their personal items, whether

    purchased with Trade-derived funds or not, and to produce documents substantiating the

    information. The items purchased with Trade-derived funds will be turned over to the Receiver,

    after which the Receiver will sell these items for the benefit of the receivership estate. The

    Stipulation corrected the provision in the receivership Orders issued in the CFTC action that

    required the Receiver to take possession of literally every item owned by or purchased by the

    Defendants. This Court entered an Order approving the Stipulation [DE 39]. Milton and the

    Centers have provided the Court-ordered sworn accountings to the Receiver, which the Receiver

    has evaluated. The accountings are deficient in several respects and/or raise questions which
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    require further investigation. The Receiver will attempt to resolve these issues with Milton and

    the Centers in the near future, absent which the Receiver will seek relief from this Court.

       I. The Receiver's Lawsuits against Third
            Parties Who Profited from the Fraud

            There is currently only one remaining lawsuit pending against a target that improperly

    received hundreds of thousands of dollars from Trade. The lawsuit is Jeffrey C. Schneider,

    Receiver v. Silent Standby Power Supply LLC, Franklin Freedman, and Siri Salmi, Case No. 11-

    80977. That lawsuit has been transferred to this Court. The Receiver continues to remain

    hopeful that, rather than engage in costly and protracted litigation, he will be able to

    consensually resolve this lawsuit in the coming months. If he is unable to consensually resolve

    it, the Receiver will take the necessary discovery and move for summary judgment, because the

    issues (in his view) are quite clear.

            The Receiver previously obtained several judgments against Trade's insiders and

    profiteers, such as Charles Reeves, Philip Milton, William Center, Timothy O'Connor, and

    William Jordan. The Receiver has recorded those judgments and is exploring collection efforts.

    The Receiver also continues to receive settlements payments from other prior targets, such as

    Jason Zamperini, RoadSafe (which acquired T &D), and David and Konstantina Casazza.

        J. Discovery

            The Receiver had no choice but to object to the claims of several Jool Club claimants

    whose funds were not transferred to Trade (the last transfer from Jool Club to Trade was July 9,

    2009). The Receiver has tried to help these Jool Club claimants by trying to determine where

    Jool Club sent the money received after July 9, 2009. The Receiver served a subpoena on Jool

    Club's owner, Mindy Baransky, and attempted to take her deposition on November 22, 2011.

    She refused to appear and indicated that she would be asserting her Fifth Amendment Right

    against self-incrimination.          The Receiver also subpoenaed Jool Club's bank records and


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   discovered that at least $1 million was sent offshore to an account in Honk Kong. The Receiver

   consulted with an investigator and an offshore attorney, but the cost of pursuing the funds was

   unfortunately cost-prohibitive. The Receiver has also corresponded, and spoken, with the CFF

   Receiver regarding whether there is any forensic connection between CFF and the Jool Club,

   which - if it existed - would be a potential avenue for them recovering a part of their funds. The

    Receiver, of course, has also met with, and spoken to, the Federal authorities.

       K. The Receiver Continues to Communicate with Investors

            The Receiver and his professionals continue to speak to and correspond with many

    investors regarding their investments. Direct communication with the individual investors is

    critical for the Receiver to ensure distributions are made to the rightful owners. The Receiver

    continues to write and post on the website monthly letters to investors. The letters provide an

    update on his activities.          The Receiver also continues to post relevant filings from the

    enforcement actions and the profiteer actions on the website.

                                     THE RECEIVER AND HIS COUNSEL

            Exhibit A reflects the Receiver's daily time records. The Receiver's standard hourly rate

    is $465.00. For purposes of this receivership, however, the Receiver reduced his hourly rate to

    $260.00, a reduction of approximately 40%, and capped it at that rate throughout the duration of

    this case. For this Fee Application, the Receiver expended a total of 46.60 billable hours at a

    reduced hourly rate of $260.00 for a total of $12, 116.00.

            The Receiver's counsel (i.e., Levine Kellogg Lehman Schneider + Grossman LLP), also

    with capped, reduced rates, were retained and commenced work on the receivership on the date

    of the Receiver's appointment - June 23, 2010. This Court granted the Receiver's Motion to

    Employ them as counsel on July 1, 2010. The professional services rendered by the Receiver's

    counsel, and the necessary and reasonable non-reimbursed out-of-pocket costs relating to those

    services, are set forth and described in more detail on the attached Exhibit B. Exhibit B reflects
                                                               12
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    the Receiver's counsel's daily time records, which includes the description of services rendered,

    the hours expended, and the hourly rates.

              The Receiver deflected the vast majority of the legal work in this case to Mr. Rengst1. 8

    As this Court can plainly see, fees were kept at a minimum by having Mr. Rengstl, associates

    (Brandon M. Thompson) and paralegals (Ana Salazar,9 Maria Carattini, Sara Stein, and Elsa

    Fresco) perform the vast maj ority of the legal work, much of which, again, involved the claims

    and distribution process.           In addition, associate hourly rates were reduced to $200.00 and

    paralegal hourly rates were reduced to $125.00 for this receivership.

              For this Court's convenience, the following is an aggregate tabular summary for the fees

    and expenses ofthe Receiver's counsel:

    COUNSEL:

    Name of Attorney                   Reduced Hourly Rate          Time EX12ended                 Total Per Attorney

    Patrick J. Rengstl, Esq.           $200.00                      339.30                         $67,860.00

    Brandon M. Thompson,               $200.00                        21.60                        $4,320.00
    Esq.

    SUBTOTAL                                                                                       $72,180.00



    PARAPROFESSIONALS:

    Name of                         Reduced Hourly Rate             Time EX12ended                 Total Per
    Para12rofessional                                                                              Para12rofessional

    Ana M. Salazar                  $125.00                           387.00                       $48,375.00




    8 Despite the fact that Mr. Rengstl is now a partner of the firm, his hourly rate has remained the
    same as before ($200.00 for associates as opposed to $250.00 for partners) to maximize the
    recovery of all victims. Mr. Rengstl's and Mr. Thompson's standard hourly rates for 2011 are
    $340.00 and $260.00, respectively. For purposes of this receivership, their hourly rates were
    reduced to $200.00.

    9 Ms. Salazar is the receivership administrator and also has a MBA degree.

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    Maria A. Carattini               $125.00                        39.40                           $4,925.00

    Sara Stein                       $125.00                        113.50                          $14,187.50

    Elsa Fresco                      $125.00                        6.50                            $812.50

    SUBTOTAL                                                                                        $68,300.00


    COSTS:

   I SUBTOTAL                                                                                     I $22,212.67


    TOTAL DUE IN FEES AND COSTS FOR COUNSEL:

   I TOTAL                                                                                        I $162,692.67


               Exhibit B is consistent with the tabular summary provided above.

                                                MEMORANDUM OF LAW

    I.         Summary of Services Rendered by the Receiver and His Counsel

               The professional services rendered by the Receiver and his counsel, and the necessary

    and reasonable non-reimbursed out-of-pocket costs attendant to those services, are set forth and

    described in more detail in Exhibits A and B. The attached records show the time spent. A mere

    reading of the time summaries cannot completely reflect the full range of services rendered by

    the Receiver and his counsel, the complexity of the issues, and the pressures of time and

    performance which have been placed upon the Receiver and his counsel in connection with this

    case.

               The schedules of disbursement for expenses, which are also part of Exhibits A and B, are

    those actual and necessary expense items, such as process service fees, photocopy charges, long

    distance telephone charges, telecopy charges, delivery charges, and various expenses incurred in

    connection with this matter. All of these expenses would typically be billed by the Receiver and

    his counsel to their general commercial clients.
                                                                  14
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            The Receiver and his counsel have not been paid any compensation in connection with

    the services and expenses set forth herein.

    II.     Applicable Legal Standard Analysis

            In determining attorneys' fees, a court must (1) determine the nature and extent of the

    services rendered; (2) determine the value of those services; and (3) consider the factors set forth

    in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5 th Cir. 1974). See Grant v.

    George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11 th Cir. 1990) (bankruptcy fee

    award case addressing the issue of attorney's fees generally before considering specific

    requirements in the bankruptcy context).                 The twelve factors set forth in Johnson, a case

    involving an award of attorneys' fees under Federal civil rights statutes, as incorporated by the

    Eleventh Circuit in Grant, a bankruptcy case, are as follows: (1) the time and labor required; (2)

    the novelty and difficulty of the questions presented; (3) the skill required to perform the legal

    services properly; (4) the preclusion of other employment by the attorney due to acceptance of

    the case; (5) the customary fee for similar work in the community; (6) whether the fee is fixed or

    contingent; (7) time limitations imposed by the client or by the circumstances; (8) the amount

    involved and results obtained; (9) the experience, reputation, and ability of the attorney; (10) the

    undesirability of the case; (11) the nature and length of the professional relationship with the

    client; and (12) awards in similar cases.

            A.        The Time and Labor Required

            The foregoing summary description, together with the time records attached hereto, detail

    the time, nature, and extent of the professional services rendered by the Receiver and his counsel

    during the period covered by this Application. The Receiver and his counsel have no doubt that

    the time spent is justified by the results that have been achieved thus far. The Receiver and his

    counsel believe they have played a significant role during the course of these proceedings and

    will continue to do so in the future.
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            B.       The Novelty and Difficulty of the Questions Presented

            This case required a high level of skill to secure the receivership assets and to carry out

    the Receiver's duties.

            C.       The Skill Requisite to Perform the Services Properly

            In order to perform the required services, substantial legal skill and experience in the

    areas of commercial law and litigation were required of the Receiver and his counsel. The

    Receiver is acutely aware of the financial considerations arising in receiverships such as this one.

    Accordingly, as this Court may gather from Exhibits A and B, the Receiver has very leanly

    staffed the administration of this case as much as possible, under the direction and immediate

    supervision of the Receiver.

            D.       The Preclusion of Other Employment Due to This Case

            Although the Receiver and his counsel were not explicitly precluded as a result of this

    case from accepting other matters, matters in this case were treated by the Receiver and his

    counsel in an expeditious and professional manner. Also, this case required the Receiver and his

    counsel to devote a significant amount of time during the period of this Application, to the

    preclusion of expending time on other active matters.

            E.        The Customary Fee

            The hourly rates of the Receiver and his counsel set forth on the attached exhibits reflect

    a rate that is considerably lower than the hourly rates billed by the Receiver and his counsel to

    clients in other cases. That is because the Receiver views this work as being in the nature of

    "public service," which the Receiver is proud and privileged to be able to do.                          Similar - and

    higher - rates have been confirmed and approved in other matters in which the Receiver and his

    counsel have been involved.

            F.        Whether the Fee Is Fixed or Contingent

            The compensation of the Receiver and his counsel in this matter is subject to the approval
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    of this Court, and the Receiver and his counsel have not received any compensation for their

    services rendered to date. The above factors should be taken into consideration by this Court,

    and the compensation should reflect the assumption of the risk of non-payment and delay in

    payment.

            G.       The Time Limitations Imposed

            This case imposed time limitations on the Receiver and his counsel due to the necessity

    for rapid resolutions of issues.

            H.       The Experience, Reputation, and Ability of the Professionals

            The Receiver and his counsel enjoy a fine reputation and have proven substantial ability

    m the fields of equity receiverships, litigation, bankruptcy, creditors' rights, and business

    reorganizations.

            I.       The "Undesirability" of the Case

            This case is not undesirable, and the Receiver and his counsel are, indeed, privileged to

    participate in this proceeding.

            J.       The Nature and Length of Professional Relationship

            The Receiver and his counsel have had no prior relationship with Milton, Center, or the

    Receivership Entities prior to this case.

            K.        Awards in Similar Cases

            The amounts requested by the Receiver and his counsel are not umeasonable in terms of

    awards in cases of similar magnitude and complexity.                      The compensation requested by the

    Receiver and his counsel comports with the mandate of applicable law, which directs that

    services be evaluated in light of comparable services performed in other cases in the community.

    In fact, the hourly rates requested by the Receiver and his counsel are considerably lower than

    the ordinary and usual hourly rates billed by the Receiver and his counsel to their ordinary



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    clients, notwithstanding the risks associated with this case. The hourly rates are even lower than

    rates received by the Receiver in other receivership cases.

            L.       The Source of Payment for the Amounts Sought Hereunder

            The Receiver and his counsel request that the amounts for which payment is authorized

    hereunder be paid from funds presently held by the Receiver.

                                                   CERTIFICATION

            Pursuant to Local Rule 7.1.A.3, undersigned counsel hereby certifies that he has

    conferred with counsel for the SEC and the Defendants, and is authorized to represent that the

    SEC and the Defendants have no objection to the relief requested herein.

            The Receiver also certifies that:

            a. He has read this Application;

            b. To the best of his knowledge, information and belief formed after reasonable inquiry,

                 this Application and all fees and expenses therein are true and accurate, and comply

                 with the Billing Instructions;

            c. All fees contained in this Application are based on the rates listed in the Exhibits

                 attached hereto and such fees are reasonable, necessary and commensurate with the

                 skill and experience required for the activity performed;

            d. He has not included in the amount for which reimbursement                                   IS   sought the

                 amortization of the cost of any investment, equipment, or capital outlay (except to the

                 extent that any such amortization is included within the permitted allowable amounts

                 set forth herein for photocopies and facsimile transmission); and

            e. In seeking reimbursement for a service which he justifiably purchased or contracted

                 for from a third party (such as copying, imaging, bulk mail, messenger service,

                 overnight courier, computerized research, or title and lien searches), he requests

                 reimbursement only for the amount billed to him by the third party vendor and paid
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                 by him to such vendor. To the extent that such services were performed by him as

                 receiver, he certifies that he is not making a profit as receiver on such reimbursable

                 service.

                                                     CONCLUSION

            WHEREFORE, the Receiver and his counsel respectfully request that this Court enter the

    proposed Order, attached as Exhibit C, (a) authorizing compensation to the Receiver of

    $12,116.00; (b) authorizing compensation to the Receiver's counsel, Levine Kellogg Lehman

    Schneider + Grossman LLP, of $140,480.00 and reimbursement of costs of $22,212.67 and (c)

    for any other relief that is just and proper.

    Dated: March 26, 2012                                  Respectfully submitted,

                                                           LEVINE KELLOGG LEHMAN
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                                                           Counsel for the Receiver
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                                                           By:s:/Patrick J. Rengstl
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                                           CERTIFICATE OF SERVICE

            I hereby certify that on March 26, 2012, I electronically filed the foregoing document

    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

    served this day on all counsel of record or pro se parties identified on the attached Service List in

    the manner specified, either via transmission of Notices of Electronic Filing generated by

    CM/ECF or in some other authorized manner for those counselor parties who are not authorized

    to receive electronically Notices of Electronic Filing.


                                                                     s:/Patrick 1. Rengstl
                                                                     Patrick J. Rengstl, Esq.




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